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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK




IN RE CHINA MEDIAEXPRESS HOLDINGS,
INC. SHAREHOLDER LITIGATION                            Civil Action No. 11-cv-0804 (VM)
This Document Relates to:                              CLASS ACTION
ALL ACTIONS
                                                       ECF Case
                                                       Electronically Filed




                             INTERIM REPORT OF RECEIVER


       Karl Barth, as Court-appointed Receiver (“Receiver”), submits this interim report of

receivership activities through October 31, 2017. As described in more detail below, the

receivership currently has net assets of $3,298,940, consisting entirely of a cash balance in the

receivership trust account resulting from the settlement of legal claims brought against certain of

CCME’s former insurers. The Receiver has also arrived at a settlement of an additional

$1,200,000 with certain other insurers, subject to Court approval. The Receiver continues to

pursue legal claims against additional third parties that he hopes will increase the value of the

receivership.

A.     Settlements With Certain of CCME’s Former Insurers
       The Receiver has pursued claims against certain of CCME’s former insurers that sold the

Company director and officer insurance coverage, but which have asserted various coverage

defenses and denied coverage for these policies. CCME purchased a total of $20 million of

insurance in three layers of coverage: 1) a $5 million primary layer of coverage jointly

underwritten by Torus Executive Risks, Ltd. and Starr Underwriting Agents, Ltd.; 2) a $5 million

secondary “excess” layer underwritten by AIG Insurance Hong Kong Limited; and 3) a $10



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million additional excess layer of coverage jointly underwritten by China Pacific Insurance Co.,

(H.K.) Ltd. and China Ping An Insurance (Hong Kong) Co. Ltd.

           The Receiver filed litigation against each of these carriers, and has obtained settlements

to date totaling $3.3 million from the joint underwriters of the $5 million primary layer of

coverage. These settlements were previously approved by the Court on October 30, 2015 (Starr

Underwriting Agents, Ltd./ Lloyd’s Syndicate 1919 CVS)1 and December 16, 2015 (Torus

Executive Risks, Ltd.).2

B.         Proposed Settlements
           The Receiver has also reached proposed settlements totaling $1.2 million from AIG

Insurance Hong Kong Limited; China Pacific Insurance Co., (H.K.) Ltd. and China Ping An

Insurance (Hong Kong) Co. Ltd. ECF No. 300.

C.         Current Receivership Net Asset Balance
           The receivership currently has net assets of $3,298,940, which are held in a trust account

at Union Bank, N.A in the name of China MediaExpress Holdings, Inc. and under the control of

the Receiver. This balance consists of the above-referenced $3.3 million in settlements obtained

from CCME’s prior insurers, less only $1,060 in bank changes. The receivership has paid no

other expenses.

D.         Accrued Payables From the Receivership
           The Receiver will not seek any fee from the receivership for his service as Receiver or his

role in obtaining these settlements, but will request the payment of attorneys’ fees to his counsel

that represented the receivership and were instrumental in obtaining the above-noted $4.5 million

in settlements, and who continue to represent the receivership in other claims.


     1
         Docket No. 272.
     2
         Docket No. 284.



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E.     Continuing Efforts of the Receiver
       The Special Receiver, Charles La Bella, is overseeing claims against CCME’s former

counsel in an arbitration proceeding that I understand is scheduled for February 2018.

DATED: November 22, 2017

                                             HAGENS BERMAN SOBOL SHAPIRO LLP


                                             By      /s/ Karl P. Barth
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                                             Receiver of China MediaExpress Holdings, Inc.




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                                 CERTIFICATE OF SERVICE
       I hereby certify that I am the ECF User whose ID and password are being used to

electronically file the foregoing with the Clerk of the Court using the CM/ECF system on
November 22, 2017, which will send notification of such filing to the e-mail addresses

registered, as denoted on the attached Electronic Mail Notice List, and I hereby certify that I

have mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

                                                                /s/ Karl P. Barth
                                                               KARL P. BARTH




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